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                   EXHIBIT W
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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

KATHLEEN MOLLER                                *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                               *
VERSUS                                         *   JUDGE WENDY B. VITTER
                                               *
MARTIAN SALES, INC; JOPEN, LLC, a              *   MAGISTRATE      DONNA      PHILLIPS
Texas      limited      liability   company;   *   CURRAULT
JOHNSON FOODS, LLC, a Wyoming                  *
limited liability company; LP IND., LLC,       *
a Wyoming limited liability company;           *
CAG HOLDINGS, LLC, a Wyoming                   *
limited      liability     company;    RMH     *
HOLDINGS,            INC.,      a   Wyoming    *
corporation;          ABC        INSURANCE     *
COMPANY and John Does 1-4.                     *
************************                       *


      TO:    RMH HOLDINGS, LLC;
             Defendant.

      ON BEHALF OF: Plaintiff, Kathleen Moller

      Pursuant to commission under FRCP 30(b)(6), Plaintiff provides notice and

demands that RMH Holdings, LLC (hereinafter referred to as “RMH”) designate in

writing the matters on which such persons will testify and produce for deposition

one or more officers, directors, managing agents and/or other persons who consent

to testify on RMH’s behalf as to the following matters known or reasonably available

to RMH, via remote deposition on December 4, 2024 at 2:00PM EST before an official
court reporter and videographer, and to be continued thereafter until conclusion as
necessary. To the extent necessary, this deposition may be continued on January 22,

2025 at 10AM EST. Please designate such persons by completing and mailing or

delivering a copy of this subpoena to the undersigned in advance of the deposition.

      In this discovery, term “affiliate” refers to any organizations, individual

persons, or business concerns with any shared management or ownership with

RMH; doing business as or for RMH; predecessors or successors of RMH, owning
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RMH; and/or controlling or controlled by RMH. The term “person” refers to any

human as well as natural and legal entities.

     Plaintiff requests examination on the following matters:

     1.   The quality, quantity, and nature of all contacts between RMH and its

          affiliates with and within the state of Louisiana.

                            a. Person Designated:

                                   i. /s/

                            b. Office or title:

                                   i. /s/

     2.   The relationship of RMH and its affiliates to OPMS kratom products.

                            a. Person Designated:

                                   i. /s/

                            b. Office or title:

                                   i. /s/

     3.   The relationship of RMH and any other named defendant.

                            a. Person Designated:

                                   i. /s/

                            b. Office or title:

                                   i. /s/
     4.   The identity of any person(s) who have done business on behalf of RMH

          within Louisiana, and the nature of such business.

                            a. Person Designated:

                                   i. /s/

                            b. Office or title:

                                   i. /s/

     5.   The timeframes that RMH (and any of its affiliates) received income or
          payments related to the design, development, manufacturing, marketing,
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        licensing, and/or sale of OPMS branded kratom sold in interstate

        commerce and Louisiana specifically.

                           a. Person Designated:

                                  i. /s/

                           b. Office or title:

                                  i. /s/

   6.   The nature and extent of RMH’s affiliation with businesses and entities

        that have developed, manufactured, marketed, licensed, and/or sold

        OPMS     branded    kratom     in   interstate commerce and     Louisiana

        Specifically.

                           a. Person Designated:

                                  i. /s/

                           b. Office or title:

                                  i. /s/

   7.   RMH’s receipt if any, of income or payments arising from the

        development, marketing, licensing, and/or sale of OPMS kratom.

                           a. Person Designated:

                                  i. /s/

                           b. Office or title:
                                  i. /s/

   8.   RMH’s business operations and practices related to any kratom products

        in the five years preceding Harmony Moller’s death.

                           a. Person Designated:

                                  i. /s/

                           b. Office or title:

                                  i. /s/
   9.   The relationship and activities of Mark Jennings on behalf of RMH.
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                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   10. The relationship and activities of Peyton Palaio on behalf of RMH.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   11. RMH’s confirmation, correction, or other knowledge of the distribution

       chain for OPMS products described in the Tampa Bay Times “Deadly

       Dose”     series    of     articles,     which      can     be    found     at:

       https://project.tampabay.com/investigations/deadly-dose/kratom-

       industry/.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   12. RMH’s affiliation with, involvement with, or business done with the
       unincorporated entity known as Olistica Life Sciences Group (see:

       https://www.olisticagroup.com/)

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   13. The corporate structure of RMH and identity of its members, managers,
       owners, and operators.
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                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   14. The business operations of RMH Holdings including the nature of the

       crops, products, and brands that are the subject of those operations, and

       who or what has been responsible for the ownership, management,

       control, and accounting for RMH Holdings and its brands for the five years

       preceding Harmony Moller’s death. NOTE: This topic would extend to:

       (a) your roles and relationships (including d/b/a relationships) with

       respect to the business operations of: CAG Holdings; Cannopy Corp.;

       Companion Ag, Inc. Corporation; Companion AG, Inc.; Companion AG

       CO; and/or Companion AG; and (b) the nature and extent of your national

       operations, including your reported operating locations and facilities in

       “Georgia, Oregon, Colorado, Washington and North Carolina”; and the

       extent of your interstate business contacts, reported to have involved

       “customers in approximately forty-five (45) states”. See page 1, Section

       3.2 in the Employment and Restrictive Agreement that you filed in your

       RMH v. American Hemp lawsuit.
                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   15. The defendant’s affiliation (past or present) with any individual or entity

       involved with the stream of commerce of WHOLE HERBS, OPMS, and

       REMARKABLE HERBS branded kratom on an interstate basis, or into
       Louisiana specifically.
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                         a. Person Designated:

                                 i. /s/

                         b. Office or title:

                                 i. /s/

   16. The defendant’s commonality of ownership with any individual or entity

       involved with the stream of commerce of WHOLE HERBS, OPMS, and

       REMARKABLE HERBS branded kratom on an interstate basis, or into

       Louisiana specifically.

                         a. Person Designated:

                                 i. /s/

                         b. Office or title:

                                 i. /s/

   17. The defendant’s exchange or intermingling of directors, officers, or

       employees (past or present) with each party involved with the stream of

       commerce of WHOLE HERBS, OPMS, and REMARKABLE HERBS

       branded kratom that is sold on an interstate basis, or into Louisiana

       specifically.

                         a. Person Designated:

                                 i. /s/
                         b. Office or title:

                                 i. /s/



                                    Respectfully submitted,


                                    By: /s/Michael Cowgill
                                       Michael J. Cowgill (FL Bar # 1010945)
                                       Admitted pro hac vice
                                       Tamara J. Spires (FL Bar #127625)
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                                           -and-

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                                           cwagar@wagarhickman.com

                                           Attorneys for Plaintiff, Kathleen
                                           Moller



                           CERTIFICATE OF SERVICE

      I do hereby certify that I have on this 6th day of November, 2024 served a

copy of the foregoing pleading on counsel for all parties to this proceeding via

electronic mail, facsimile, and/or by U.S. mail, properly addressed with first-class

postage prepaid.



                                           /s/ Michael Cowgill
                                           Michael J. Cowgill
